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    Proposed Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )           Chapter 11
    In re:                                             )
                                                       )           Case No. 23-10063 (SHL)
    Genesis Global Holdco, LLC, et al.,1               )
                                                       )           Jointly Administered
    Debtors.                                           )
                                                       )           Re: Docket No. 130

   CERTIFICATE OF NO OBJECTION UNDER 28 U.S.C. § 1746 REGARDING THE
APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
   ENTRY OF AN ORDER AUTHORIZING RETENTION AND EMPLOYMENT OF
 HOULIHAN LOKEY CAPITAL, INC. AS INVESTMENT BANKER TO THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS NUNC PRO TUNC TO FEBRUARY 3, 2023

             Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”), and in accordance with this Court’s case

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number (or equivalent identifier), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564);
      and Genesis Asia Pacific Pte. Ltd. (2164R). For the purpose of these chapter 11 cases, the service address for the
      Debtors is 250 Park Avenue South, 5th Floor, New York, NY 10003.
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management procedures set forth in the Order Implementing Certain Notice and Case Management

Procedures, entered on January 27, 2023 [Docket No. 44] (the “Case Management Order”), the

undersigned hereby certifies as follows:

       1.      On January 19, 2023, Genesis Global Holdco, LLC and its affiliated debtors and

debtors in possession (collectively, the “Debtors”) commenced with this Court a voluntary case

under chapter 11 of title 11 of the United States Code. On March 16, 2023, the Official Committee

of Unsecured Creditors (the “Committee”) filed the Application of the Official Committee of

Unsecured Creditors for Entry of an Order Authorizing Retention and Employment of Houlihan

Lokey Capital, Inc. as Investment Banker to the Official Committee of Unsecured Creditors Nunc

Pro Tunc to February 3, 2023 [Docket No. 130] (the “Retention Application”).

       2.      The Committee served the Retention Application and proposed order approving the

Retention Application (the “Proposed Order”) as reflected in the affidavit of service filed at Docket

No. 171.

       3.      Paragraph 40 of the Case Management Order provides that a “request for relief in a

Pleading may be granted without a hearing provided that, after the passage of the Objection

Deadline, the attorney for the entity who has filed the Pleading (a) files a declaration pursuant to 28

U.S.C. § 1746 indicating that no Objection has been filed or served in accordance with these Case

Management Procedures (the “Certificate of No Objection”); (b) serves the Certificate of No

Objection via e-mail upon the attorneys for the Debtors, the U.S. Trustee, and any Official

Committee prior to submission thereof to the Court; and (c) delivers by e-mail to Chambers the

proposed order (in Word or WordPerfect format only), the Certificate of No Objection, the

underlying request for relief (with all exhibits), and the certificate of service. Upon receipt of the

foregoing, the Court may grant the relief requested in the Pleading without further submission,



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hearing or request.”

       4.      Local Rule 9075-2 provides that a motion or application may be granted without a

hearing if (a) no objections or responsive pleadings have been filed or served before 48 hours after

the relevant objection deadline, and (b) the attorney for the entity that filed the pleading complies

with the relevant procedural and notice requirements.

       5.      In accordance with the Case Management Order, responses to the Retention

Application were due no later than March 23, 2023 at 4:00 p.m. (prevailing Eastern Time)

(the “Objection Deadline”). The Objection Deadline was extended solely for the U.S. Trustee to

March 27, 2023 at 4:00 p.m. (prevailing Eastern Time) by agreement among the parties.

       6.      As of the filing of this certificate, to the best of my knowledge, no responsive

pleadings to the Retention Application have been (a) filed with the Court on the docket of the above-

captioned chapter 11 cases or (b) served on the Committee or their proposed counsel. On March 29,

2023, the Committee informed the U.S. Trustee, and the U.S. Trustee acknowledged, that the

Committee would file this Certificate of No Objection on March 29, 2023 after 11:00 a.m.

(prevailing Eastern Time).

       7.      Accordingly, the Committee respectfully requests entry of the Proposed Order attached

hereto as Exhibit A in accordance with the Case Management Order and Local Rule 9075-2.

       8.      I hereby declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge, information, and belief.




                             [Remainder of page intentionally left blank]




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 Dated:   March 29, 2023                  /s/ Gregory F. Pesce
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